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 4   Attorney for Defendant, LINDA CALLOWAY
 5
 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,   )               CASE NO. 05-00443 OWW
 9                               )
          Plaintiff,             )
10                               )               APPLICATION FOR SEALING
     v.                          )               MENTAL HEALTH RECORDS;
11                               )               PROPOSED ORDER
     LINDA CALLOWAY,             )
12                               )
          Defendant.             )
13   ____________________________)
14         COMES NOW defendant herein, LINDA CALLOWAY, who applies hereby for
15   an order permitting her to file, under seal, her mental health records from Fresno
16   County Department of Behavioral Services. We are requesting the records be filed
17   under seal due to the sensitive nature of the matter. The records have already
18   been served on Assistant United States Attorney Kimberly A. Sanchez and Katrina
19   Holland of the United States Probation Office.
20         Ms. Calloway respectfully requests that this Court order the within mental
21   health records be scanned by the Clerk’s Office into the sealed section of the ECF
22   and that the originals returned to counsel.
23
     DATED: August 18, 2006
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                                   Respectfully submitted,
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26
                                   /s/ Roger K. Litman
27                                 ROGER K. LITMAN
                                   Attorney for Defendant
28                                 LINDA CALLOWAY

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 1                                  SEALING ORDER
 2         Having reviewed defendant Calloway’s Application to File Mental Health
 3   Records, and good cause appearing therefore,
 4         IT IS HEREBY ORDERED that the mental health records be filed under
 5   seal, and that the documents be scanned by the Clerk’s Office into the sealed
 6   section of ECF and the original be returned to counsel.
 7   IT IS SO ORDERED.
 8   Dated: August 18, 2006                  /s/ Oliver W. Wanger
     emm0d6                             UNITED STATES DISTRICT JUDGE
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